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August 11, 2023

VIA ECF

The Honorable Leonard P. Stark
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, D.C. 20439

         Re: Crystallex International Corporation v. Bolivarian Republic of Venezuela et al.,
             C.A. No. 17-mc-151-LPS

Dear Judge Stark:

I write on behalf of Crystallex in response to letters from Mr. Jerry Ching and Mr. David Pacheco
to Your Honor, filed on the Court’s docket on August 1, 2023 (D.I. 647) and August 4, 2023 (D.I.
651), respectively. Mr. Ching asserts that his shares in Crystallex “were sold without [his] consent
or knowledge.” D.I. 647 at 1. And Mr. Pacheco contends that his broker was “advised by
Crystallex to remove [his] shares” from his account. D.I. 651 at 1. While Crystallex appreciates
Messrs. Ching’s and Pacheco’s questions, the answers have nothing to do with Crystallex’s man-
agement or corporate actions. Instead, Messrs. Ching’s and Pacheco’s concerns appear to arise
from the independent actions of third-party securities professionals and custodians outside the
scope of this case.

Specifically, Crystallex understands that the reported “removal” of various shareholders’ shares
from their brokerage accounts is the result of decisions of their brokers and policies of the Depos-
itory Trust Company (“DTC”), which holds physical possession of Crystallex’s shares. After
Venezuela’s theft of Crystallex’s mining rights drove Crystallex into bankruptcy more than a dec-
ade ago, the Toronto Stock Exchange and the American Stock Exchange (now NYSE American)
delisted Crystallex’s shares. As a result of that delisting and the end of active trading, certain
brokerages have apparently removed Crystallex’s delisted shares from their clients’ accounts in
conformity with their own internal policies and the DTC’s Position Removal program, which per-
mits participants to move positions in delisted securities to the DTC. See DTC, Deposits Service,
https://www.dtcc.com/settlement-and-asset-services/securities-processing/deposits-service (ac-
cessed August 10, 2023). Crystallex does not and cannot control that process.

In sum, Crystallex has not played a part in any brokerage’s decision to remove Crystallex’s secu-
rities from shareholder accounts. Crystallex understands that the issues raised by Messrs. Ching
and Pacheco need to be resolved between DTC and its member broker-dealers. Issuers, such as
Crystallex, have no control over such matters.
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                                         Respectfully submitted,
                                         /s/ Travis S. Hunter
                                         Travis S. Hunter (#5350)
CC: All counsel of record
